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                                        6
                                        7                             IN THE UNITED STATES DISTRICT COURT
                                        8                                   FOR THE DISTRICT OF ARIZONA
                                        9
                                            United States of America,
                                       10                                                   NO. CR-19-00448-PHX-DLR-2
                                                               Plaintiff,
                                       11                                                   DEFENDANT’S MOTION TO
1 East Washington Street, Suite 2300




                                                               vs.                          CONTINUE SENTENCING
                                       12                                                   HEARING
     Telephone: 602.798.5400
      Phoenix, AZ 85004-2555
         Ballard Spahr LLP




                                            James B. Panther,
                                       13
                                                               Defendant.
                                       14
                                       15
                                       16            Defendant, James Panther, hereby respectfully requests a 90-day continuance of the
                                       17 sentencing hearing currently set for Tuesday, March 29, 2022 at 11:00 a.m. to provide
                                       18 additional time necessary for preparation for the hearing.         Undersigned counsel has
                                       19 communicated with Deborah Brittain Shaw, counsel for the government, regarding this
                                       20 request. Ms. Shaw is in agreement and does not oppose this request for a continuance.
                                       21            RESPECTFULLY SUBMITTED this 9th day of February, 2022.
                                       22                                              BALLARD SPAHR LLP
                                       23
                                                                                       By: /s/ Dennis K. Burke
                                       24                                                  Mark Kokanovich
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